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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 KELLIN JOHNS and JUAN BARRON,
 individually and on behalf of all others
 similarly situated,

                 Plaintiffs,
                                                     Case No. 3:20-cv-00264-DWD
 v.                                                  Judge David W. Dugan

 PAYCOR, INC.,

                 Defendant.


                     FIRST AMENDED CLASS ACTION COMPLAINT

       Plaintiffs Kellin Johns (“Johns”) and Juan Barron (“Barron”) (together, “Plaintiffs”), by

and through their attorneys, bring this First Amended Class Action Complaint (“FAC”)

individually and on behalf of all others similarly situated (the “Class”) pursuant to Rule 23 of the

Federal Rules of Civil Procedure against Defendant Paycor, Inc. (“Paycor” or “Defendant”) to

redress and curtail Defendant’s unlawful collection, use, storage, and disclosure of Plaintiffs’ and

the proposed Class’ sensitive and proprietary biometric data. Plaintiffs allege as follows upon

personal knowledge as to themselves and their own acts and experiences and, as to all other

matters, upon information and belief, including investigation conducted by their attorneys.

                                  NATURE OF THE ACTION

       1.       Defendant Paycor, Inc. designs and manufactures fully-integrated time and

attendance products and services for businesses ranging from small service companies to global

corporations.

       2.       Chief among the products Defendant manufactures are biometric solutions such as

biometric time keeping devices, which feature fingerprint readers, hand geometry readers, and



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other similar devices (collectively referred to as “Biometric Time Clocks”), which require scans

of users’ biometric data 1 in order for those users to clock in and out of work.

       3.      Defendant’s systems and software require users to scan their biometric identifiers,

namely their fingerprints or hand geometry, when using Biometric Time Clocks as an authorization

method to track their time worked. The Biometric Time Clock scans the worker’s fingerprints or

hand geometry to clock in and out of work shifts and meal breaks. Upon information and belief,

once a user has registered his or her fingerprint or hand geometry with a Biometric Time Clock,

that biometric identifier and related biometric information is enrolled and stored in Defendant’s

database(s).

       4.      While there are benefits to using biometric time clocks in the workplace, there are

also serious risks. Unlike key fobs or identification cards—which can be changed or replaced if

stolen or compromised—fingerprints and handprints are unique, permanent biometric identifiers

associated with the individual. This exposes individuals who use Paycor’s Biometric Time Clocks

to serious and irreversible privacy risks. For example, if a database containing fingerprints, hand

geometry, or other sensitive, proprietary biometric data is hacked, breached, or otherwise exposed

– like in the recent Equifax, Facebook/Cambridge Analytica, and Suprema data breaches or

misuses – individuals have no means by which to prevent identity theft, unauthorized tracking or

other unlawful or improper use of this highly personal and private information.

       5.      Biometrics are not relegated to esoteric corners of commerce. Many businesses and

financial institutions have incorporated biometric applications into their workplace in the form of

biometric timeclocks or authenticators, and into consumer products, including such ubiquitous

consumer products as checking accounts and cell phones.


1
   The term “biometric data” collectively refers to and encompasses biometric identifiers and biometric
information as defined in 740 ILCS 14/10.
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       6.         In 2015, a data breach at the United States Office of Personnel Management

exposed the personal identification information, including biometric data, of over 21.5 million

federal employees, contractors, and job applicants. U.S. Off. of Personnel Mgmt., Cybersecurity

Incidents (2018), available at www.opm.gov/cybersecurity/cybersecurity-incidents.

       7.         An illegal market already exists for biometric data. Hackers and identity thieves

have targeted Aadhaar, the largest biometric database in the world, which contains the personal

and biometric data – including fingerprints, iris scans, and facial photographs – of over a billion

Indian citizens. See Vidhi Doshi, A Security Breach in India Has Left a Billion People at Risk of

Identity    Theft,       The     Washington      Post    (Jan.    4,    2018),     available     at

https://www.washingtonpost.com/news/worldviews/wp/2018/01/04/a-security-breach-in-india-

has-left-a-billion-people-at-risk-of-identity-theft/?utm_term=.b3c70259fl38.

       8.         In January 2018, an Indian newspaper reported that the information housed in

Aadhaar was available for purchase for less than $8 and in as little as 10 minutes. Rachna Khaira,

Rs 500, 10 Minutes, and You Have Access to Billion Aadhaar Details, The Tribune (Jan. 4, 2018),

available at http://www.tribuneindia.com/news/nation/rs-500-10-minutes-and-you-have-access-

to-billion-aadhaar-details/523361.html.

       9.         In August 2019, it was widely reported that Suprema, a security company

responsible for a web-based biometrics lock system that uses fingerprints and facial geometry

scans in 1.5 million locations around the world, maintained biometric data and other personal

information on a publicly accessible, unencrypted database. Josh Taylor, Major Breach Found in

Biometrics System Used by Banks, UK police and Defence Firms, The Guardian (Aug. 14, 2019),

available    at      https://www.theguardian.com/technology/2019/aug/14/major-breach-found-in-

biometrics-system-used-by-banks-uk-police-and-defence-firms.



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       10.      In the United States, law enforcement, including the Federal Bureau of

Investigation and Immigration and Customs Enforcement, have attempted to turn states’

Department of Motor Vehicles databases into biometric data goldmines, using facial recognition

technology to scan the faces of thousands of citizens, all without their notice or consent. Drew

Harwell, FBI, ICE Find State Driver’s License Photos Are a Gold Mine for Facial-Recognition

Searches,       The      Washington        Post       (July     7,     2019),         available     at

https://www.washingtonpost.com/technology/2019/07/07/fbi-ice-find-state-drivers-license-

photos-are-gold-mine-facial-recognition-searches/.

       11.     This practice has been criticized by lawmakers. Some states, including Illinois,

have refused to comply with law enforcement’s invasive requests. State Denying Facial

Recognition    Requests,    Jacksonville    Journal-Courier    (July    9,   2019),     available   at

https://www.myjournalcourier.com/news/article/State-denying-facial-recognition-requests-

14081967.php.

       12.     Recognizing the need to protect its citizens from situations like these, Illinois

enacted the Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1, et seq., specifically to

regulate companies that collect and store Illinois citizens’ biometrics, such as fingerprints.

       13.     Notwithstanding the clear and unequivocal requirements of the law, Paycor

disregards Biometric Time Clock users’ statutorily protected privacy rights and unlawfully

collects, captures, otherwise obtains, stores, maintains, and uses their biometric data in violation

of BIPA. Specifically, Paycor has violated and continues to violate BIPA because it did not and

continues not to:

                a.     Properly inform Plaintiffs and others similarly situated in writing of the
                       specific purpose and length of time for which their biometric data was
                       being collected, captured, otherwise obtained, stored, maintained and used,
                       as required by BIPA;

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                  b.       Receive a written release from Plaintiffs and others similarly situated to
                           collect, capture, otherwise obtain, store, or use their biometric data, as
                           required by BIPA;

                  c.       Provide a publicly available retention schedule and guidelines for
                           permanently destroying Plaintiffs’ and other similarly-situated individuals’
                           biometric data, as required by BIPA; and

                  d.       Obtain consent from Plaintiffs and others similarly situated to disclose,
                           redisclose, or otherwise disseminate their biometric data to a third party, as
                           required by BIPA.

        14.       Upon information and belief, Defendant improperly discloses its Biometric Time

Clock users’ fingerprint and hand geometry data to other, currently unknown, third parties,

including but not limited to Defendant’s clients and/or other third parties that host biometric data

in their data center(s).

        15.       Upon information and belief, Defendant lacks retention schedules and guidelines

for permanently destroying Plaintiffs’ and other similarly-situated individuals’ biometric data and

has not and will not destroy their biometric data, as required by BIPA.

        16.       Biometric Time Clock users have a proprietary right to control their biometric

identifiers and information. In failing to comply with the requirements of BIPA, Defendant

intentionally interferes with each user’s right of possession and control over their valuable, unique,

and permanent biometric data.

        17.       Defendant is directly liable for, and had actual knowledge of, the BIPA violations

alleged herein.

        18.       Accordingly, Plaintiffs seek an Order: (1) declaring that Defendant’s conduct

violates BIPA; (2) requiring Defendant to cease the unlawful activities discussed herein; and (3)

awarding statutory damages to Plaintiffs and the proposed Class.




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                                              PARTIES

        19.     Plaintiff Kellin Johns is a natural person and a citizen of the State of Illinois.

        20.     Plaintiff Juan Barron is a natural person and a citizen of the State of Illinois.

        21.     Defendant Paycor, Inc. is a Delaware corporation that is registered to do business

in Illinois.

                                      JURISDICTION AND VENUE

        22.     This Court has jurisdiction under the Class Action Fairness Act, 28 U.S.C. §

1332(d)(2)(A), (d)(5)(B) because the proposed class has 100 or more members, the amount in

controversy exceeds $5,000,000.00, and the parties are minimally diverse.

        23.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events giving rise to these claims occurred in this judicial district.

                                   FACTUAL BACKGROUND

I.      The Biometric Information Privacy Act.

        24.     In the early 2000s, major national corporations started using Chicago and other

locations in Illinois to test “new applications of biometric-facilitated financial transactions,

including finger-scan technologies at grocery stores, gas stations, and school cafeterias.” 740 ILCS

14/5(c). Given its relative infancy, an overwhelming portion of the public became weary of this

then-growing, yet unregulated, technology. See 740 ILCS 14/5.

        25.     In late 2007, a biometrics company called Pay by Touch, which provided major

retailers throughout the State of Illinois with fingerprint scanners to facilitate consumer

transactions, filed for bankruptcy. That bankruptcy was alarming to the Illinois Legislature because

suddenly there was a serious risk that millions of fingerprint records – which, like other unique

biometric identifiers, can be linked to people’s sensitive financial and personal data – could now



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be sold, distributed, or otherwise shared through the bankruptcy proceedings without adequate

protections for Illinois citizens. The bankruptcy also highlighted the fact that most consumers who

had used that company’s fingerprint scanners were completely unaware that the scanners were not

actually transmitting fingerprint data to the retailer who deployed the scanner, but rather to the

now-bankrupt company, and that their unique biometric identifiers could now be sold to unknown

third parties.

            26.   Recognizing the “very serious need [for] protections for the citizens of Illinois

when it [came to their] biometric information,” Illinois enacted BIPA in 2008. See Illinois House

Transcript, 2008 Reg. Sess. No. 276; 740 ILCS 14/5.

            27.   Additionally, to ensure compliance, BIPA provides that, for each violation, the

prevailing party may recover $1,000 or actual damages, whichever is greater, for negligent

violations and $5,000, or actual damages, whichever is greater, for intentional or reckless

violations. 740 ILCS 14/20.

            28.   BIPA is an informed consent statute which achieves its goal by making it unlawful

for a company to, among other things, collect, capture, purchase, receive through trade, or

otherwise obtain a person’s or a customer’s biometric identifiers or biometric information, unless

it first:

                  a.     Informs the subject in writing that a biometric identifier or biometric
                         information is being collected or stored;

                  b.     Informs the subject in writing of the specific purpose and length of term for
                         which a biometric identifier or biometric information is being collected,
                         stored, and used; and

                  c.     Receives a written release executed by the subject of the biometric identifier
                         or biometric information.

See 740 ILCS 14/15(b).



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       29.     BIPA specifically applies to individuals who work or reside in the State of Illinois.

       30.     Biometric identifiers include retina and iris scans, voiceprints, scans of face

geometry, and – most importantly here – scans of fingerprints and hand geometry. See 740 ILCS

14/10. Biometric information is separately defined to include any information based on an

individual’s biometric identifier that is used to identify an individual. Id.

       31.     BIPA also establishes standards for how entities must handle Illinois citizens’

biometric identifiers and biometric information. See, e.g., 740 ILCS 14/15(c)-(d). For example,

BIPA prohibits private entities from disclosing a person’s or customer’s biometric identifier or

biometric information without first obtaining consent for that disclosure. See 740 ILCS

14/15(d)(1).

       32.     BIPA also prohibits selling, leasing, trading, or otherwise profiting from a person’s

biometric identifiers or biometric information (740 ILCS 14/15(c)) and requires companies to

develop and comply with a written, publicly-available policy establishing a retention schedule and

guidelines for permanently destroying biometric identifiers and biometric information when the

initial purpose for collecting such identifiers or information has been satisfied, or within three

years of the individual’s last interaction with the company, whichever occurs first. 740 ILCS

14/15(a).

       33.     The Illinois legislature enacted BIPA due to the increasing use of biometric data in

financial and security settings, the general public’s hesitation to use biometric information, and –

most significantly – the unknown ramifications of biometric technology. Biometrics are

biologically unique to the individual and, once compromised, an individual is at heightened risk

for identity theft and left without any recourse.




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       34.     BIPA provides individuals with a private right of action, protecting their right to

privacy regarding their biometric data. BIPA also protects individuals’ rights to know the precise

nature for which their biometric identifiers and information are being obtained and used, how they

are being stored and ultimately destroyed, allowing individuals to make a truly informed choice.

Unlike other statutes that only create a right of action if there is a qualifying data breach, BIPA

strictly regulates the manner in which entities may collect, store, use, and disseminate biometrics

and creates a private right of action for lack of statutory compliance.

       35.     Plaintiffs, like the Illinois legislature, recognize how imperative it is to keep

biometric identifiers and biometric information secure. Biometric data, unlike other personal

identifiers such as a social security number, cannot be changed or replaced if hacked or stolen.

II.    Defendant Violates the Biometric Information Privacy Act.

       36.     By the time BIPA passed through the Illinois legislature in mid-2008, most

companies who had experimented with using individuals’ biometric data stopped doing so.

       37.     However, Defendant failed to take note of the shift in Illinois law governing the

collection, obtainment, storage, use and dissemination of biometric data. As a result, Defendant

continues to collect, obtain, store, use and disseminate Illinois citizens’ biometric data in violation

of BIPA.

       38.     Specifically, when individuals first use Defendant’s Biometric Time Clock, they

are required to have their fingerprint or hand geometry scanned in order to enroll them in the

Paycor database(s).

       39.     Unfortunately, Defendant fails to inform these individuals that they are collecting,

capturing, obtaining, storing or using their sensitive biometric data, the extent of the purposes for

which they do so, or to whom the data is disclosed, if at all.



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        40.     Defendant fails to maintain a written, publicly available policy identifying its

retention schedule and guidelines for permanently destroying individuals’ biometric identifiers and

information when the initial purpose for collecting, capturing or obtaining their biometric data is

no longer relevant, as required by BIPA.

        41.     In addition, Defendant profits from the use of individuals’ biometric data. For

instance, Paycor markets its Biometric Time Clocks to employers as superior options to traditional

time clocks, which can be deceived by “buddy punching” – where one employee punches in to or

out of a time clock for another (absent) employee. 2 By marketing its clocks in this manner,

Defendant obtains a competitive advantage over other biometric time clock companies and secure

profits from their use of biometric data, all while failing to comply with the minimum requirements

for handling users’ biometric data established by BIPA.

        42.     The Pay By Touch bankruptcy that catalyzed the passage of BIPA highlights why

such conduct – where individuals are aware that they are providing biometric data but not aware

to whom or for what purposes they are doing so – is dangerous. That bankruptcy spurred Illinois

citizens and legislators into realizing that it is crucial for individuals to understand when providing

biometric identifiers, such as fingerprints and hand geometry, who exactly is collecting or

obtaining their biometric data, where it will be transmitted and for what purposes, and for how

long. Defendant disregards these obligations and these individuals’ statutory rights, and instead

unlawfully collects, captures, obtains, stores, uses and disseminates their biometric identifiers and

information, without ever receiving the individual’s informed written consent required by BIPA.




2
 Paycor, Don’t Fall Victim to Time Theft, available at https://www.paycor.com/resource-center/dont-fall-
victim-to-time-theft (listing “biometric time clocks that read employee fingerprints or handprints to prevent
buddy punching” as a way to minimize time theft).
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        43.    Remarkably, Defendant has created the same situation that Pay By Touch did by

assembling a database of biometric data through broadly deployed fingerprint and hand geometry

readers, but failed to comply with the law specifically designed to protect individuals whose

biometrics are collected in these circumstances. Defendant disregards these obligations and Illinois

citizens’ statutory rights and instead unlawfully collects, captures, obtains, stores, uses, and

disseminates individuals’ biometric identifiers and information without ever receiving the

individual’s informed written consent as required by BIPA.

        44.    Plaintiffs and others similarly situated are not told what might happen to their

biometric data if and when Defendant merges with another company or worse, if and when

Defendant’s business folds, or when any other third-party entity, that has received their biometric

data, folds.

        45.    Because Defendant neither publishes a BIPA-mandated data retention policy nor

discloses the purposes for its collection or obtainment of biometric data, individuals are left in the

dark regarding the extent to which Defendant stores, uses, sells, discloses, re-discloses, or

otherwise disseminates their biometric data to whom and when. Moreover, Plaintiffs and others

similarly situated are not told to whom Defendant currently discloses their biometric data, or what

might happen to their biometric data in the event of a merger or a bankruptcy.

        46.    These violations have raised a material risk that Plaintiffs’ and other similarly-

situated individuals’ biometric data will be unlawfully accessed by third parties.

        47.    By and through the actions detailed above, Defendant disregarded Plaintiffs’ and

other similarly-situated individuals’ legal rights in violation of BIPA.




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III.   Plaintiffs’ Experiences

       48.     Plaintiff Kellin Johns worked for Club Fitness, Inc. from 2013 to 2017 in six Illinois

locations: Alton, Wood River, Granite City, Collinsville, Fairview Heights, and Belleville.

       49.     Plaintiff Juan Barron worked for Club Fitness, Inc. from 2013 to 2020 in five

Illinois locations: O’Fallon, Granite City, Collinsville, Fairview Heights, and Belleville.

       50.     From approximately September 2015 through April of 2016, Paycor provided Club

Fitness with time and attendance hardware and software, including Biometric Time Clocks. As

part of its services, Paycor collected and managed the biometric data of Mr. Johns, Mr. Barron,

and other Club Fitness employees.

       51.     Plaintiffs were required to scan their fingerprints on Paycor’s Biometric Time

Clock at Club Fitness so they could be used as an authentication method to track their time worked.

       52.     Defendant subsequently stored Plaintiffs’ fingerprint biometric data in its

databases.

       53.     Plaintiffs have never been informed of the specific limited purposes or length of

time for which Defendant collects, captures, obtains, stores, and/or uses their biometric data.

       54.     Plaintiffs have never been informed of any written, publicly available biometric

data retention policy developed by Defendant, nor have they ever been informed of whether

Defendant will ever permanently delete their biometric data.

       55.     Plaintiffs have never been provided with, nor ever signed, a written release allowing

Defendant to collect, capture, obtain, store, use and/or disseminate their biometric data.

       56.     Plaintiffs have continuously and repeatedly been exposed to the risks and harmful

conditions created by Defendant’s violations of BIPA alleged herein.




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         57.    No amount of time or money can compensate Plaintiffs if their biometric data is

compromised by the lax procedures through which Defendant collected, captured, obtained, stored,

and/or used their and other similarly-situated individuals’ biometrics. Moreover, Plaintiffs would

not have provided their biometric data to Defendant if they had known that Defendant would retain

such information for an indefinite period of time without their consent.

         58.    A showing of actual damages is not necessary in order to state a claim under BIPA.

See Rosenbach v. Six Flags Ent. Corp., 2019 IL 123186, ¶ 40 (“[A]n individual need not allege

some actual injury or adverse effect, beyond violation of his or her rights under the Act, in order

to qualify as an “aggrieved” person and be entitled to seek liquidated damages and injunctive relief

pursuant to the Act”).

         59.    Nonetheless, Plaintiffs are aggrieved because they suffered an injury-in-fact based

on Defendant’s violations of their legal rights. Defendant has intentionally interfered with

Plaintiffs’ right to possess and control their own sensitive biometric data. Additionally, Plaintiffs

suffered an invasion of a legally protected interest when Defendant secured their personal and

private biometric data at a time when it had no right to do so, a gross invasion of their rights to

privacy. BIPA protects individuals like Plaintiffs from this precise conduct. Defendant had no

lawful right to obtain this data or share it with third parties absent a specific legislative license to

do so.

         60.   As Plaintiffs are not required to allege or prove actual damages in order to state a

claim under BIPA, they seek statutory damages under BIPA as compensation for the injuries

caused by Defendant. Rosenbach, 2019 IL 123186, ¶ 40.

                                     CLASS ALLEGATIONS

         61.   Pursuant to Rule 23(a) and 23(b) of the Federal Rules of Civil Procedure, Plaintiffs



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bring claims on their own behalf and as a representative of all other similarly situated individuals

pursuant to BIPA, 740 ILCS 14/1, et seq., to recover statutory penalties, prejudgment interest,

attorneys’ fees and costs, and other damages owed.

       62.     As discussed supra, Section 14/15(b) of BIPA prohibits a company from, among

other things, collecting, capturing, purchasing, receiving through trade, or otherwise obtaining a

person’s or a customer’s biometric identifiers or biometric information, unless it first (1) informs

the individual in writing that a biometric identifier or biometric information is being collected,

obtained or stored; (2) informs the individual in writing of the specific purpose and length of time

for which a biometric identifier or biometric information is being collected, obtained, stored, and

used; and (3) receives a written release executed by the subject of the biometric identifier or

biometric information. 740 ILCS 14/15.

       63.     Plaintiffs seek class certification for the following class of similarly situated

individuals:

       All in individuals working in the State of Illinois who had their fingerprints, hand
       geometry, or other biometric data collected, captured, received, or otherwise
       obtained or disclosed by Defendant during the applicable statutory period.

       64.     This action is properly maintained as a class action under Rule 23 because:

               A.      The class is so numerous that joinder of all members is impracticable;

               B.      There are questions of law or fact that are common to the class;

               C.      Plaintiffs’ claims are typical of the claims of the class; and,

               D.      Plaintiffs will fairly and adequately protect the interests of the class.

                                            Numerosity

       65.     The total number of putative class members exceeds 100 individuals. The exact

number of class members may easily be determined from Defendant’s records.



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                                           Commonality

       66.     There is a well-defined commonality of interest in the substantial questions of law

and fact concerning and affecting the Class in that Plaintiffs and all members of the Class have

been harmed by Defendant’s failure to comply with BIPA. The common questions of law and fact

include, but are not limited to the following:

               A.      Whether Defendant collected, captured, maintained, stored or otherwise
                       obtained Plaintiffs’ and the putative Class members’ biometric identifiers
                       or biometric information;

               B.      Whether Defendant properly informed Plaintiffs and the Class members of
                       its purposes for collecting, using and storing their biometric identifiers or
                       biometric information;

               C.      Whether Defendant obtained a written release (as defined in 740 ILCS
                       14/10) to collect, use and store Plaintiffs’ and the putative Class members’
                       biometric identifiers or biometric information;

               D.      Whether Defendant has disclosed or re-disclosed Plaintiffs’ and the putative
                       Class members’ biometric identifiers or biometric information;

               E.      Whether Defendant has sold, leased, traded, or otherwise profited from
                       Plaintiffs’ and the putative Class members’ biometric identifiers or
                       biometric information;

               F.      Whether Defendant developed a written policy, made available to the
                       public, establishing a retention schedule and guidelines for permanently
                       destroying biometric identifiers and biometric information when the initial
                       purpose for collecting or obtaining such identifiers or information has been
                       satisfied or within three years of their last interaction, whichever occurs
                       first;

               G.      Whether Defendant complies with any such written policy;

               H.      Whether Defendant’s violations of BIPA have raised a material risk that
                       Plaintiffs’ and the putative Class members’ biometric data will be
                       unlawfully accessed by third parties;

               I.      Whether Defendant used Plaintiffs’ and the putative Class members’
                       fingerprints and hand geometry to identify them; and

               J.      Whether Defendant’s violations of BIPA were committed negligently; and

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               K.      Whether Defendant’s violations of BIPA were committed intentionally or
                       recklessly.

       67.     Plaintiffs anticipate that Defendant will raise defenses that are common to the class.

                                             Adequacy

       68.     Plaintiffs will fairly and adequately protect the interests of all members of the class,

and there are no known conflicts of interest between Plaintiffs and class members. Plaintiffs,

moreover, have retained experienced counsel that are competent in the prosecution of complex

litigation and who have extensive experience acting as class counsel.

                                             Typicality

       69.     The claims asserted by Plaintiffs are typical of the class members they seek to

represent. The Plaintiffs have the same interests and suffer from the same unlawful practices as

the class members.

       70.     Upon information and belief, there are no other class members who have an interest

in individually controlling the prosecution of his or her individual claims, especially in light of the

relatively small value of each claim and the difficulties involved in bringing individual litigation

against one’s employer. However, if any such class member should become known, he or she can

“opt out” of this action pursuant to Rule 23(b)(3).

                                  Predominance and Superiority

       71.     The common questions identified above predominate over any individual issues,

which will relate solely to the quantum of relief due to individual class members. A class action is

superior to other available means for the fair and efficient adjudication of this controversy because

individual joinder of the parties is impracticable. Class action treatment will allow a large number

of similarly-situated persons to prosecute their common claims in a single forum simultaneously,



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efficiently, and without the unnecessary duplication of effort and expense if these claims were

brought individually. Moreover, as the damages suffered by each class member are relatively small

in the sense pertinent to class action analysis, the expenses and burden of individual litigation

would make it difficult for individual class members to vindicate their claims.

       72.     Additionally, important public interests will be served by addressing the matter as

a class action. The cost to the court system and the public for the adjudication of individual

litigation and claims would be substantially more than if claims are treated as a class action.

Prosecution of separate actions by individual class members would create a risk of inconsistent

and varying adjudications, establish incompatible standards of conduct for Defendant and/or

substantially impair or impede the ability of class members to protect their interests. The issues in

this action can be decided by means of common, class-wide proof. In addition, if appropriate, the

Court can and is empowered to, fashion methods to efficiently manage this action as a class action.

                               FIRST CAUSE OF ACTION
  Violation of 740 ILCS § 14/15(a): Failure to Institute, Maintain and Adhere to Publicly-
                               Available Retention Schedule

       73.     Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

       74.     BIPA mandates that companies that collect, capture or otherwise obtain biometric

data establish and maintain a satisfactory biometric data retention – and, importantly, deletion –

policy. Specifically, those companies must: (i) make publicly available a written policy

establishing a retention schedule and guidelines for permanent deletion of biometric data (at most

three years after the company’s last interaction with the individual); and (ii) actually adhere to that

retention schedule and actually delete the biometric information. See 740 ILCS 14/15(a).

       75.     Defendant fails to comply with these BIPA mandates.




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       76.     Defendant Paycor, Inc. is a corporation registered to conduct business in Illinois

and, therefore, qualifies as a “private entity” under BIPA. See 740 ILCS 14/10.

       77.     Plaintiffs and the Class are individuals who have had their “biometric identifiers”

collected by Defendant (in the form of their fingerprints or hand geometry), as explained in detail

in Sections II and III, supra. See 740 ILCS 14/10.

       78.     Plaintiffs’ and the Class members’ biometric identifiers were used to identify them

and, therefore, constitute “biometric information” as defined by BIPA. See 740 ILCS 14/10.

       79.     Defendant failed to implement and maintain a publicly available retention schedule

or guidelines for permanently destroying biometric identifiers and biometric information, as

specified by BIPA. See 740 ILCS 14/15(a).

       80.     Upon information and belief, Defendant lacks retention schedules and guidelines

for permanently destroying Plaintiffs’ and the Class members’ biometric data, and have not and

will not destroy their biometric data when the initial purpose for collecting or obtaining such data

has been satisfied or within three years of an individual’s last interaction with the company.

       81.     On behalf of themselves and the Class, Plaintiffs seek: (1) declaratory relief; (2)

injunctive and equitable relief as is necessary to protect the interests of Plaintiffs and the Class by

requiring Defendant to comply with BIPA’s requirements for the collection, storage, and use of

biometric identifiers and biometric information as described herein; (3) statutory damages of

$5,000 for each intentional and/or reckless violation of BIPA pursuant to 740 ILCS 14/20(2) or,

in the alternative, statutory damages of $1,000 for each negligent violation of BIPA pursuant to

740 ILCS 14/20(1); and (4) reasonable attorneys’ fees and costs and other litigation expenses

pursuant to 740 ILCS 14/20(3).




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                             SECOND CAUSE OF ACTION
Violation of 740 ILCS § 14/15(b): Failure to Obtain Informed Written Consent and Release
                   Before Obtaining Biometric Identifiers or Information

       82.     Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

       83.     BIPA requires companies to obtain informed written consent from individuals

before collecting, capturing, or otherwise obtaining their biometric data. Specifically, BIPA makes

it unlawful for any private entity to “collect, capture, purchase, receive through trade, or otherwise

obtain a person’s or a customer’s biometric identifiers or biometric information unless [the entity]

first: (1) informs the subject…in writing that a biometric identifier or biometric information is

being collected or stored; (2) informs the subject…in writing of the specific purpose and length of

term for which a biometric identifier or biometric information is being collected, stored, and used;

and (3) receives a written release executed by the subject of the biometric identifier or biometric

information…” 740 ILCS 14/15(b) (emphasis added).

       84.     Defendant fails to comply with these BIPA mandates.

       85.     Defendant Paycor, Inc. is a corporation registered to conduct business in Illinois

and, therefore, qualifies as a “private entity” under BIPA. See 740 ILCS 14/10.

       86.     Plaintiffs and the Class are individuals who have had their “biometric identifiers”

collected by Defendant (in the form of their fingerprints or hand geometry), as explained in detail

in Sections II and III, supra. See 740 ILCS 14/10.

       87.     Plaintiffs’ and the Class members’ biometric identifiers were used to identify them

and, therefore, constitute “biometric information” as defined by BIPA. See 740 ILCS 14/10.

       88.     Defendant systematically and automatically collected, used and stored Plaintiffs’

and the Class members’ biometric identifiers and/or biometric information without first obtaining

the written release required by 740 ILCS 14/15(b)(3).



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       89.     Defendant never informed Plaintiffs and the Class in writing that their biometric

identifiers and/or biometric information were being collected, stored, used, and disseminated nor

did Defendant inform Plaintiffs and the Class members in writing of the specific purpose(s) and

length of term for which their biometric identifiers and/or biometric information were being

collected, stored, and used as required by 740 ILCS 14/15(b)(1)-(2).

       90.     By collecting, capturing, obtaining, storing, using and/or disseminating Plaintiffs’

and the Class members’ biometric identifiers and biometric information as described herein,

Defendant violated their rights to privacy in their biometric identifiers or biometric information,

as set forth in BIPA. See 740 ILCS 14/1, et seq.

       91.     On behalf of himself and the Class, Plaintiffs seek: (1) declaratory relief; (2)

injunctive and equitable relief as is necessary to protect the interests of Plaintiffs and the Class by

requiring Defendant to comply with BIPA’s requirements for the collection, storage, and use of

biometric identifiers and biometric information as described herein; (3) statutory damages of

$5,000 for each intentional and/or reckless violation of BIPA pursuant to 740 ILCS 14/20(2) or,

in the alternative, statutory damages of $1,000 for each negligent violation of BIPA pursuant to

740 ILCS 14/20(1); and (4) reasonable attorneys’ fees and costs and other litigation expenses

pursuant to 740 ILCS 14/20(3).

                              THIRD CAUSE OF ACTION
   Violation of 740 ILCS § 14/15(d): Disclosure of Biometric Identifiers and Information
                                Before Obtaining Consent

       92.     Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

       93.     BIPA prohibits private entities from disclosing a person’s or customer’s biometric

identifier or biometric information without first obtaining consent for that disclosure. See 740

ILCS 14/15(d)(1).



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       94.     Defendant fails to comply with this BIPA mandate.

       95.     Defendant Paycor, Inc. is a corporation registered to conduct business in Illinois

and, therefore, qualifies as a “private entity” under BIPA. See 740 ILCS 14/10.

       96.     Plaintiffs and the Class are individuals who have had their “biometric identifiers”

collected by Defendant (in the form of their fingerprints or hand geometry), as explained in detail

in Sections II and III, supra. See 740 ILCS 14/10.

       97.     Plaintiffs’ and the Class members’ biometric identifiers were used to identify them

and, therefore, constitute “biometric information” as defined by BIPA. See 740 ILCS 14/10.

       98.     Defendant systematically and automatically disclosed, redisclosed, or otherwise

disseminated Plaintiffs’ and the Class members’ biometric identifiers and/or biometric information

without first obtaining the consent required by 740 ILCS 14/15(d)(1).

       99.     By disclosing, redisclosing, or otherwise disseminating Plaintiffs’ and the Class

members’ biometric identifiers and biometric information as described herein, Defendant violated

their rights to privacy in their biometric identifiers or biometric information, as set forth in BIPA.

See 740 ILCS 14/1, et seq.

       100.    On behalf of themselves and the Class, Plaintiffs seek: (1) declaratory relief; (2)

injunctive and equitable relief as is necessary to protect the interests of Plaintiffs and the Class by

requiring Defendant to comply with BIPA’s requirements for the collection, storage and use of

biometric identifiers and biometric information as described herein; (3) statutory damages of

$5,000 for each intentional and/or reckless violation of BIPA pursuant to 740 ILCS 14/20(2) or,

in the alternative, statutory damages of $1,000 for each negligent violation of BIPA pursuant to

740 ILCS 14/20(1); and (4) reasonable attorneys’ fees and costs and other litigation expenses

pursuant to 740 ILCS 14/20(3).



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                                  PRAYER FOR RELIEF

       Wherefore, Plaintiffs Kellin Johns and Juan Barron respectfully request that this Court

enter an Order:

       A.     Certifying this case as a class action on behalf of the Class defined above,
              appointing Plaintiffs Kellin Johns and Juan Barron as Class Representatives, and
              appointing Stephan Zouras, LLP, as Class Counsel;

       B.     Declaring that Defendant’s actions, as set forth above, violate BIPA;

       C.     Awarding statutory damages of $5,000 for each intentional and/or reckless
              violation of BIPA pursuant to 740 ILCS 14/20(2) or, in the alternative, statutory
              damages of $1,000 for each negligent violation of BIPA pursuant to 740 ILCS
              14/20(1);

       D.     Declaring that Defendant’s actions, as forth out above, were intentional and/or
              reckless;

       E.     Awarding injunctive and other equitable relief as is necessary to protect the
              interests of Plaintiffs and the Class, including an Order requiring Defendant to
              collect, store and use biometric identifiers or biometric information in compliance
              with BIPA;

       F.     Awarding Plaintiffs and the Class their reasonable attorneys’ fees and costs and
              other litigation expenses pursuant to 740 ILCS 14/20(3);

       G.     Awarding Plaintiffs and the Class pre- and post-judgment interest, to the extent
              allowable; and

       H.     Awarding such other and further relief as equity and justice may require.


Date: October 29, 2020                             Respectfully Submitted,

                                                   By: /s/ Ryan F. Stephan
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                                                   Megan E. Shannon
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                                                     ATTORNEYS FOR PLAINTIFFS
                                                     AND THE PUTATIVE CLASS




                              CERTIFICATE OF SERVICE

       I, the attorney, hereby certify that on October 29, 2020, I filed the attached with the Clerk

of the Court using the ECF system, which will send such filing to all attorneys of record.


                                                              /s/ Ryan F. Stephan




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